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 9                       UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
11
12 MANUEL SAVORELLI, Individually              Case No.
   and On Behalf of All Others Similarly
13 Situated,                                   CLASS ACTION COMPLAINT
                                               FOR VIOLATIONS OF THE
14              Plaintiff,                     FEDERAL SECURITIES LAWS
15        v.                                   DEMAND FOR JURY TRIAL
16 THE TRADE DESK, INC., JEFF T.
   GREEN, and LAURA SCHENKEIN,
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18           Defendants.

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                                    CLASS ACTION COMPLAINT
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 1         Plaintiff Manuel Savorelli (“Plaintiff”), individually and on behalf of all others
 2 similarly situated, by and through his attorneys, alleges the following upon
 3 information and belief, except as to those allegations concerning Plaintiff, which are
 4 alleged upon personal knowledge. Plaintiff’s information and belief is based upon,
 5 among other things, his counsel’s investigation, which includes without limitation:
 6 (a) review and analysis of regulatory filings made by The Trade Desk Inc. (“Trade
 7 Desk” or the “Company”) with the United States (“U.S.”) Securities and Exchange
 8 Commission (“SEC”); (b) review and analysis of press releases and media reports
 9 issued by and disseminated by Trade Desk ; and (c) review of other publicly available
10 information concerning Trade Desk .
11                   NATURE OF THE ACTION AND OVERVIEW
12         1.    This is a class action on behalf of persons and entities that purchased or
13 otherwise acquired Trade Desk Class A common stock or call options, or sold Trade
14 Desk put options, between May 9, 2024 and February 12, 2025, inclusive (the “Class
15 Period”). Plaintiff pursues claims against the Defendants under the Securities
16 Exchange Act of 1934 (the “Exchange Act”).
17         2.    Trade Desk is a technology company that operates a self-service, cloud-
18 based platform targeted at advertisers. The Company’s platform integrates with
19 inventory, publisher, and data partners to provide ad buyers with the ability to create,
20 manage and optimize data-driven digital advertising campaigns across ad formats and
21 channels.
22         3.    On June 6, 2023, the Company launched Kokai, a new digital advertising
23 platform experience which purported to incorporate major advances in distributed
24 artificial intelligence (AI), measurements, and advertising partner integrations. In the
25 press release announcing the launch, Trade Desk described Kokai as a ”co-pilot to the
26 programmatic marketer” that digests over 13 million advertising impressions every
27 second, helping “advertisers buy the right ad impressions, at the right price, to reach
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 1 the target audience at the best time.” The Company advertised Kokai as its “largest
 2 and most important platform overhaul ever.”
 3        4.     As the Company rolled out Kokai and transitioned clients from its older
 4 ad-buying platform called Somilar, Trade Desk touted the manner in which Kokai
 5 was allegedly driving success for itself and its customers. The Company claimed the
 6 “switch over to the new” platform was seamless, stating that it was “without the
 7 disruption that comes from yanking something out of the box and maybe having
 8 something totally hate it and just be angry.” Trade Desk expected “full adoption” of
 9 Kokai “over the course of 2024[.]”
10        5.     Before the start of the Class Period, Trade Desk affirmed prior estimates
11 that, from the June 2023 launch, Kokai “would take about a year to roll out in its
12 entirety.”
13        6.     On February 12, 2025, after the market closed, Trade Desk released its
14 fourth quarter and full year 2024 financial results, revealing revenue of only $741
15 million. This significantly missed the Company’s prior guidance of “at least” $756
16 million issued only months earlier.
17        7.     During the related earnings call held on February 12, 2025, Founder and
18 Chief Executive Officer Jeff Green (“Green”) revealed that “Kokai rolled out slower
19 than we anticipated,” which was “in some cases” “deliberate,” as the Company faced
20 ongoing efforts to “understand what the customer needs.” Defendant Green further
21 revealed Company had “a series of small execution missteps” and had undergone the
22 “largest reorganization in company history” in part, to address these issues. The
23 Company was “maintaining 2 systems, Somilar and Kokai,” which “slows us down.”
24        8.     On this news, the Company’s stock price fell $40.31, or 32.98%, to close
25 at $81.92 per share on February 13, 2025, on unusually heavy trading volume.
26        9.     Throughout the Class Period, Defendants made materially false and/or
27 misleading statements, as well as failed to disclose material adverse facts about the
28 Company’s business, operations, and prospects. Specifically, Defendants failed to

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 1 disclose to investors: (1) that the Company was experiencing self-inflicted execution
 2 challenges in rolling out Kokai, including transitioning clients from the Company’s
 3 older platform and struggling to understand customer needs; (2) that the Company
 4 had “in some cases” deliberately slowed the release of Kokai; (3) that, as a result of
 5 the foregoing, the Company’s rollout of Kokai was meaningfully delayed; (4) that
 6 Trade Desk’s inability to effectively execute the rollout of Kokai negatively impacted
 7 the Company’s revenue growth; and (5) that, as a result of the foregoing, Defendants’
 8 positive statements about the Company’s business, operations, and prospects were
 9 materially misleading and/or lacked a reasonable basis.
10        10.    As a result of Defendants’ wrongful acts and omissions, and the
11 precipitous decline in the market value of the Company’s securities, Plaintiff and
12 other Class members have suffered significant losses and damages.
13                            JURISDICTION AND VENUE
14        11.    The claims asserted herein arise under Sections 10(b) and 20(a) of the
15 Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated
16 thereunder by the SEC (17 C.F.R. § 240.10b-5).
17        12.    This Court has jurisdiction over the subject matter of this action pursuant
18 to 28 U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).
19        13.    Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b)
20 and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in
21 furtherance of the alleged fraud or the effects of the fraud have occurred in this
22 Judicial District. Many of the acts charged herein, including the dissemination of
23 materially false and/or misleading information, occurred in substantial part in this
24 Judicial District. In addition, the Company’s principal executive offices are in this
25 District.
26        14.    In connection with the acts, transactions, and conduct alleged herein,
27 Defendants directly and indirectly used the means and instrumentalities of interstate
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 1 commerce, including the United States mail, interstate telephone communications,
 2 and the facilities of a national securities exchange.
 3                                        PARTIES
 4         15.   Plaintiff Manuel Savorelli, as set forth in the accompanying certification,
 5 incorporated by reference herein, purchased or otherwise acquired Trade Desk Class
 6 A common stock and/or call options, and/or sold Trade Desk put options, during the
 7 Class Period, and suffered damages as a result of the federal securities law violations
 8 and false and/or misleading statements and/or material omissions alleged herein.
 9         16.   Defendant Trade Desk is incorporated under the laws of Nevada with its
10 principal executive offices located in Ventura, California. Trade Desk’s Class A
11 common stock trades on the NASDAQ exchange under the symbol “TTD.”
12         17.    Defendant Jeff T. Green (“Green”) was the Company’s Chief Executive
13 Officer (“CEO”) at all relevant times.
14         18.   Defendant Laura Schenkein (“Schenkein”) was the Company’s Chief
15 Financial Officer (“CFO”) at all relevant times.
16         19.   Defendants Green and Schenkein (collectively the “Individual
17 Defendants”), because of their positions with the Company, possessed the power and
18 authority to control the contents of the Company’s reports to the SEC, press releases
19 and presentations to securities analysts, money and portfolio managers and
20 institutional investors, i.e., the market. The Individual Defendants were provided with
21 copies of the Company’s reports and press releases alleged herein to be misleading
22 prior to, or shortly after, their issuance and had the ability and opportunity to prevent
23 their issuance or cause them to be corrected. Because of their positions and access to
24 material non-public information available to them, the Individual Defendants knew
25 that the adverse facts specified herein had not been disclosed to, and were being
26 concealed from, the public, and that the positive representations which were being
27 made were then materially false and/or misleading. The Individual Defendants are
28 liable for the false statements pleaded herein.

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 1                              SUBSTANTIVE ALLEGATIONS
 2                                          Background
 3            20.   The Trade Desk is a technology company which operates a self-service,
 4 cloud-based platform targeted at advertisers. The Company’s platform integrates with
 5 inventory, publisher, and data partners to provide ad buyers with the ability to create,
 6 manage and optimize data-driven digital advertising campaigns across ad formats and
 7 channels.
 8            21.   On June 6, 2023, the Company launched Kokai, a new digital advertising
 9 platform experience which purported to incorporate major advances in distributed
10 artificial intelligence (AI), measurements, and advertising partner integrations. The
11 Company advertised Kokai as its “largest and most important platform overhaul
12 ever.”
13                               Materially False and Misleading
14                         Statements Issued During the Class Period
15            22.   The Class Period begins on May 9, 2024. After the market closed on May
16 8, 2024, the Company issued a press release announcing its financial results for the
17 quarter ended March 31, 2024. The press release reported the Company’s financial
18 results and touted the Company’s “greater deployment of first-party data and retail
19 data, and with significant AI advances in our Kokai platform.” 1 Specifically, the
20 press release stated in relevant part:
21            “Q1 was a strong quarter for The Trade Desk as we delivered revenue of
              $491 million, accelerating growth to 28% year-over-year. Our
22            outstanding performance to start the year underlines the value advertisers
              are placing on premium inventory on the open internet,” said Jeff Green,
23            Co-founder and CEO of The Trade Desk. “With the continued strong
              growth of CTV, the growing ubiquity of UID2, new approaches to
24            authentication, greater deployment of first-party data and retail data,
              and with significant AI advances in our Kokai platform, we are better
25            positioned than ever to deliver premium value to advertisers and
              continue to gain market share.”
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         Unless otherwise stated, all emphasis in bold and italics hereinafter is added.

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 1        First Quarter 2024 Financial Highlights:
 2        The following table summarizes our consolidated financial results for the
          three months ended March 31, 2024 and 2023 ($ in millions, except per
 3        share amounts):
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14        23.    During the related earnings call held on May 8, 2024 (the “1Q24

15 Earnings Call”), Defendant Green touted the success of the Kokai rollout, stating, “I
16 believe our revenue growth acceleration in the first quarter speaks to the innovation
17 and value that we are delivering to our clients with Kokai.” Defendant Green further
18 highlighted how Kokai will allow its users to capitalize on advertising opportunities
19 beyond the technology conglomerates, such as Facebook, Instagram, and Google, i.e.,
20 the “open Internet,” stating the following, in relevant part:
21        And the innovations in our Kokai platform will help our clients take
          advantage of this revaluation and fully leverage data-driven buying to
22        fuel their own business growth. As a result, I’ve never been more
          optimistic about the future of the open Internet and our ability to gain
23        more than our fair share of the nearly $1 trillion advertising [total
          addressable market].
24        24.    Later on the 1Q24 Earnings Call, Defendant Schenkein reiterated the role
25 of Kokai in propelling the Company’s growth, stating, “All of our progress in areas
26 such as CTV, Retail Media, Kokai and UID2 helped deliver another quarter of
27 consistently strong growth and profitability to start 2024.”
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 1        25.    On June 28, 2024, the Company issued a press release entitled “Traders
 2 tout how Kokai is driving campaign success,” which advertised the purported
 3 popularity of Kokai amongst users and the unqualified success of its rollout. The press
 4 release stated the following, in relevant part:
 5        Traders tout how Kokai is driving campaign success
 6        Exactly one year since The Trade Desk announced its vision for Kokai,
          the demand-side platform welcomed clients and partners to its New York
 7        City office to share more about its latest — and most transformative —
          platform update, made available to clients in early June.
 8
          While over the last year the ad world voiced shared concerns around
 9        made-for-advertising websites, the value of user-generated content, and
          how to save journalism on the open internet (among other important
10        topics), The Trade Desk was building and shipping new innovations
          aimed at making the industry stronger and the internet a better, easier
11        place to buy media. Already, Kokai — The Trade Desk’s new UI — has
          yielded notable campaign results, as told by the traders who have been
12        using our new tools.
13        Overall, campaigns in Kokai Beta saw improved KPI performance, with
          notable optimizations across the board. This includes a 24% drop in cost
14        per unique reach, 36% lower cost per click (CPC), and a 34% reduction
          in cost per action (CPA), on average. While it’s clear our platform is
15        driving results against a set of full-funnel KPIs, there are several key
          differentiators driving trader adoption, confidence, and success on the
16        platform.
17        26.    On August 8, 2024, the Company issued a press release announcing its
18 financial results for the quarter ended June 30, 2024. The press release reported the
19 Company’s financial results and touted the progress of “Kokai[’s] ramp” and
20 “ongoing innovations in Kokai.” Specifically the press release stated in relevant part:
21        “Q2 was another strong quarter for The Trade Desk, with revenue of
          $585 million, representing 26% year-over-year growth,” said Jeff Green,
22        Co-founder and CEO of The Trade Desk. “We’ve made significant
          strides in CTV, retail media and identity, empowering the world’s largest
23        brands to buy premium media on the open internet with unprecedented
          agility and precision. As Kokai ramps, we’re intuitively surfacing value
24        for advertisers, integrating data into every decision, advancing the full
          power of AI as a co-pilot, and enabling advertisers to maximize the
25        potential of their first party data. With ongoing innovations in Kokai,
          the widespread adoption of UID2, and the expanding use of retail data,
26        we will continue to deliver exceptional value to advertisers and grow
          our leadership in key high growth markets such as CTV.”
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11        27.   During the related earnings call held on August 8, 2024, (the “2Q24

12 Earnings Call”), Defendant Green touted Kokai’s use case, stating as follows, in
13 relevant part:
          In order to help advertisers think about efficacy in new ways and to help
14        them take advantage of the premium open Internet where consumers are
          most leaned in, after years of development, we launched our most
15        ambitious platform to date, Kokai. Kokai allows our clients to deploy
          data about their most loyal customers and then use that data as a seed to
16        grow and harvest the next generation of loyal customers.
17        28.   Later during the 2Q24 Earnings Call, speaking regarding the Kokai
18 rollout, Defendant Green further proclaimed, he has “been incredibly encouraged by
19 the early results from Kokai[,]” while highlighting that the “campaigns that have
20 moved from Solimar to Kokai in aggregate, incremental reach is up more than 70%[,]”
21 and “[c]ost per acquisition has improved by about 27% as data elements per
22 impression have gone up by about 30%.” Defendant Green further explained that
23 “performance metrics have improved by about 25%, helping to unlock performance
24 budgets on our platform for years to come.”
25      29. Referencing his earlier remarks during the same 2Q24 Earnings Call
26 about “meeting with many [chief marketing officers]” (“CMOs”) from global brands
27 who are “putting a premium on the efficacy of marketing,” Defendant Green stated,
28 “Given everything I said about what CMOs today are trying to accomplish and the

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 1 pressures that they are under, I firmly believe that we have met the moment with
 2 Kokai.”
 3         30.   On November 7, 2024, the Company announced its third quarter 2024
 4 financial results in a press release for the period ended September 30, 2024. The press
 5 release reported the Company’s financial results and touted the Company’s
 6 “performance improvements that our clients are seeing with Kokai - our largest
 7 platform upgrade to date - showcase the value of audience-driven, AI-enabled
 8 innovation.” The press release further offered finanical guidance, including
 9 “[r]evenue at least $756 million” in the fourth quarter of 2024. Specifically, the press
10 release stated in relevant part:
11         “The Trade Desk delivered strong performance in the third quarter, with
           revenue of $628 million, accelerating growth to 27%. This performance
12         underlines the value that advertisers are placing on precision and
           transparency as they work with us to maximize the impact of their
13         campaigns,” said Jeff Green, Co-founder and CEO of The Trade Desk.
           “As we enter our busiest time of year and look ahead to 2025, we have
14         never been in a better position to capture greater share of the $1 trillion
           advertising TAM. 2024 has been a banner year for CTV. Many of the
15         largest media companies are now working with us to help clients capture
           the full value of CTV advertising via programmatic. We are similarly
16         excited about the momentum in retail media and the pace of adoption by
           advertisers who are taking advantage of our retail data marketplace. And
17         the performance improvements that our clients are seeing with Kokai
           - our largest platform upgrade to date - showcase the value of
18         audience-driven, AI-enabled innovation.”
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 2                         *                   *                   *
 3         Financial Guidance:
 4         Fourth Quarter 2024 outlook summary:
 5         •Revenue at least $756 million
 6         •Adjusted EBITDA of approximately $363 million
 7         31.   During the related earnings call held on November 7, 2024, (the “3Q24
 8 Earnings Call”), Defendant Green once again assured investors that “[w]e are already
 9 seeing the results of Kokai performance today, but we’re just getting started.”
10 Defendant Schenkein further touted that “[k]ey investment initiatives, including
11 performance advancements in our Kokai platform . . . are not only strengthening our
12 foundation, but position us for durable growth in 2025 and beyond.”
13         32.   Later, during the question-and-answer portion of the 3Q24 Earnings
14 Call, an analyst asked Defendant Green “[W]hat type of work does it take to help
15 CMOs and the users understand the metrics coming out of Kokai but also to kind of
16 gain trust around them?” The analyst added that it has “been a challenge in some other
17 walled garden platforms” getting “people [to] trust[] the attribution data.” In response,
18 Defendant Green stated, in relevant part:
19         I really appreciate the question because I think this is one of the more
           nuanced ways that we have just so much opportunity in front of us. . . .
20         But the state of measurement is that walled gardens have essentially been
           grading their own homework for many, many years. And one of the
21         things that they’ve done really well is convinced people to use their own
           metrics and kept things quite simple. But at times, that’s been really
22         difficult for some of the biggest brands in the world because they’ll be
           told by a walled garden, we help you sell 101 toothbrushes, when the
23         company actually only sold 100 toothbrushes total.
24         33.   The above statements identified in ¶¶ 22-32 were materially false and/or
25 misleading, and failed to disclose material adverse facts about the Company’s
26 business, operations, and prospects. Specifically, Defendants failed to disclose to
27 investors: (1) that the Company was experiencing self-inflicted execution challenges
28 in rolling out Kokai, including transitioning clients from the Company’s older

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 1 platform and struggling to understand customer needs; (2) that the Company had “in
 2 some cases” deliberately slowed the release of Kokai; (3) that, as a result of the
 3 foregoing, the Company’s rollout of Kokai was meaningfully delayed; (4) that Trade
 4 Desk’s inability to effectively execute the rollout of Kokai negatively impacted the
 5 Company’s revenue growth; and (5) that, as a result of the foregoing, Defendants’
 6 positive statements about the Company’s business, operations, and prospects were
 7 materially misleading and/or lacked a reasonable basis.
 8                      Disclosures at the End of the Class Period
 9         34.   On February 12, 2025, after the market closed, Trade Desk released its
10 fourth-quarter 2024 earnings, in a press release, revealing revenue of only $741
11 million. This significantly missed the Company’s prior guidance of “at least” $756
12 million issued only months earlier. Specifically, the press release stated, in relevant
13 part:
14         Fourth Quarter and Full Year 2024 Financial Highlights:
15         The following table summarizes the Company’s unaudited consolidated
           financial results for the three and twelve months ended December 31,
16         2024 and 2023 ($ in millions, except per share amounts):
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           35.   On the same date, the Company held an earnings call (the “4Q24
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     Earnings Call”). During the 4Q24 Earnings Call, Founder and CEO, Defendant
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     Green, revealed that “Kokai rolled out slower than we anticipated,” which was “in
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 1 some cases” “deliberate,” as the Company faced ongoing efforts to “understand what
 2 the customer needs.” Defendant Green disclosed that Trade Desk has yet to onboard
 3 all of its clients onto Kokai, stating, “[W]e’ll move 100% of our clients to Kokai this
 4 year. Now the majority already have. But today, we’re maintaining 2 systems,
 5 Solimar and Kokai. This slows us down. Kokai is more effective in almost every
 6 way.” Defendant Green further revealed Company had “a series of small execution
 7 missteps” and had underwent the “largest reorganization in company history” in part,
 8 to address these issues. Specifically, during the 4Q24 Earnings Call, Defendant Green
 9 offered prepared remarks, including the following, in relevant part:
10        Our brightest days are still ahead of us, but before I talk about that, I
          want to spend a few minutes sharing what we got wrong and the changes
11        we are making to meet this moment and maximize our unique and
          growing opportunity. Starting off, let me explain it as I see it, what falling
12        short of our own expectations does NOT represent. This didn’t happen
          because the opportunity isn’t as big as we thought. In this case, it isn’t
13        because of competition either. For Q4, the reality is that we stumbled
          due to a series of small execution missteps while simultaneously
14        preparing for the future.
15                         *                   *                     *
16        In that effort, I want to highlight four major changes we’ve made at The
          Trade Desk in the last few months, and some related initiatives that
17        accompany them. First, we did the largest reorganization in company
          history in December. While we often make structural changes at the end
18        of the year to improve our business, this was bigger than usual.
19        36.    Later during the 4Q24 Earnings Call Defendant Green was asked by an
20 analyst to provide “a little more detail about what you observed about the difference
21 between you and the industry” given that “going into [the] earnings report, there were
22 a lot of concerns” including potential “issues with Kokai rollout pace.” In response,
23 Defendant Green stated the following, in relevant part:
24        The environment wasn’t perfect, but we knew that when we guided even
          if it was slightly harder than we thought, we’ve navigated that before. So
25        you are right. And I know there is going to be 1,000 questions, a bunch
          of you -- well, we actually started a couple of them, and I know there
26        will be more because we’ve done so well for so long at setting
          expectations. And when we talk about the missteps specifically, many of
27        them involve people, mistakes that aren’t appropriate to discuss publicly,
          especially when people are already learning from these mistakes.
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1          One of those -- you’re right, that Kokai rolled out slower than we
           anticipated. But much of that was for good reason. We’ve seen
2          moments and places to inject AI like improving the foundation of our
           forecasting and performance models. That is a short-term negative for
3          sure, but it is a long-term negative. We are working -- I’m sorry, it’s a
           long-term positive, sorry. We are working really hard to get the deals
4          right and lay groundwork to move the upfront to digital.
5          Again, long term, I think this is amazingly good for us. And I’m
           confident we are building the right things. In other words, in some cases,
6          the slower Kokai rollout was deliberate, a quicker rollout would result
           in more short-term spend, and we don’t always build what the
7          customers want. Instead, we are trying to understand what the
           customer needs. Elevating us and them together is a much harder task
8          than simply taking orders. So as it relates to the internal changes, I think
           it is best to operate a company with our talent and the opportunity that
9          we’re facing to build the org and the team of the future, as fast as possible
           so that we capture the most market share possible at end state.
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           37.    On this news, the Company’s stock price fell $40.31, or 32.98%, to close
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     at $81.92 per share on February 13, 2025, on unusually heavy trading volume.
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                             CLASS ACTION ALLEGATIONS
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           38.    Plaintiff brings this action as a class action pursuant to Federal Rule of
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     Civil Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and
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     entities that purchased or otherwise acquired Trade Desk Class A common stock or
16
     call options, or sold Trade Desk put options, between May 9, 2024 and February 12,
17
     2025, inclusive, and who were damaged thereby (the “Class”). Excluded from the
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     Class are Defendants, the officers and directors of the Company, at all relevant times,
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     members of their immediate families and their legal representatives, heirs, successors,
20
     or assigns, and any entity in which Defendants have or had a controlling interest.
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           39.    The members of the Class are so numerous that joinder of all members
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     is impracticable. Throughout the Class Period, Trade Desk’s shares actively traded
23
     on the NASDAQ. While the exact number of Class members is unknown to Plaintiff
24
     at this time and can only be ascertained through appropriate discovery, Plaintiff
25
     believes that there are at least hundreds or thousands of members in the proposed
26
     Class. Millions of Trade Desk shares were traded publicly during the Class Period
27
     on the NASDAQ. Record owners and other members of the Class may be identified
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 1 from records maintained by Trade Desk or its transfer agent and may be notified of
 2 the pendency of this action by mail, using the form of notice similar to that
 3 customarily used in securities class actions.
 4         40.   Plaintiff’s claims are typical of the claims of the members of the Class
 5 as all members of the Class are similarly affected by Defendants’ wrongful conduct
 6 in violation of federal law that is complained of herein.
 7         41.   Plaintiff will fairly and adequately protect the interests of the members
 8 of the Class and has retained counsel competent and experienced in class and
 9 securities litigation.
10         42.   Common questions of law and fact exist as to all members of the Class
11 and predominate over any questions solely affecting individual members of the Class.
12 Among the questions of law and fact common to the Class are:
13               (a)    whether the federal securities laws were violated by Defendants’
14 acts as alleged herein;
15               (b)    whether statements made by Defendants to the investing public
16 during the Class Period omitted and/or misrepresented material facts about the
17 business, operations, and prospects of Trade Desk ; and
18               (c)    to what extent the members of the Class have sustained damages
19 and the proper measure of damages.
20         43.   A class action is superior to all other available methods for the fair and
21 efficient adjudication of this controversy since joinder of all members is
22 impracticable. Furthermore, as the damages suffered by individual Class members
23 may be relatively small, the expense and burden of individual litigation makes it
24 impossible for members of the Class to individually redress the wrongs done to them.
25 There will be no difficulty in the management of this action as a class action.
26                           UNDISCLOSED ADVERSE FACTS
27         44.   The market for Trade Desk’s securities was open, well-developed and
28 efficient at all relevant times. As a result of these materially false and/or misleading

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 1 statements, and/or failures to disclose, Trade Desk’s securities traded at artificially
 2 inflated prices during the Class Period. Plaintiff and other members of the Class
 3 purchased or otherwise acquired Trade Desk’s securities relying upon the integrity of
 4 the market price of the Company’s securities and market information relating to Trade
 5 Desk, and have been damaged thereby.
 6         45.   During the Class Period, Defendants materially misled the investing
 7 public, thereby inflating the price of Trade Desk’s securities, by publicly issuing false
 8 and/or misleading statements and/or omitting to disclose material facts necessary to
 9 make Defendants’ statements, as set forth herein, not false and/or misleading. The
10 statements and omissions were materially false and/or misleading because they failed
11 to disclose material adverse information and/or misrepresented the truth about Trade
12 Desk’s business, operations, and prospects as alleged herein.
13         46.   At all relevant times, the material misrepresentations and omissions
14 particularized in this Complaint directly or proximately caused or were a substantial
15 contributing cause of the damages sustained by Plaintiff and other members of the
16 Class. As described herein, during the Class Period, Defendants made or caused to
17 be made a series of materially false and/or misleading statements about Trade Desk’s
18 financial well-being and prospects. These material misstatements and/or omissions
19 had the cause and effect of creating in the market an unrealistically positive
20 assessment of the Company and its financial well-being and prospects, thus causing
21 the Company’s securities to be overvalued and artificially inflated at all relevant
22 times. Defendants’ materially false and/or misleading statements during the Class
23 Period resulted in Plaintiff and other members of the Class purchasing the Company’s
24 securities at artificially inflated prices, thus causing the damages complained of herein
25 when the truth was revealed.
26                                  LOSS CAUSATION
27         47.   Defendants’ wrongful conduct, as alleged herein, directly and
28 proximately caused the economic loss suffered by Plaintiff and the Class.

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 1        48.    During the Class Period, Plaintiff and the Class purchased Trade Desk’s
 2 securities at artificially inflated prices and were damaged thereby. The price of the
 3 Company’s securities significantly declined when the misrepresentations made to the
 4 market, and/or the information alleged herein to have been concealed from the market,
 5 and/or the effects thereof, were revealed, causing investors’ losses.
 6                             SCIENTER ALLEGATIONS
 7        49.    As alleged herein, Defendants acted with scienter since Defendants knew
 8 that the public documents and statements issued or disseminated in the name of the
 9 Company were materially false and/or misleading; knew that such statements or
10 documents would be issued or disseminated to the investing public; and knowingly
11 and substantially participated or acquiesced in the issuance or dissemination of such
12 statements or documents as primary violations of the federal securities laws. As set
13 forth elsewhere herein in detail, the Individual Defendants, by virtue of their receipt
14 of information reflecting the true facts regarding Trade Desk, their control over,
15 and/or receipt and/or modification of Trade Desk’s allegedly materially misleading
16 misstatements and/or their associations with the Company which made them privy to
17 confidential proprietary information concerning Trade Desk, participated in the
18 fraudulent scheme alleged herein.
19              APPLICABILITY OF PRESUMPTION OF RELIANCE
20                     (FRAUD-ON-THE-MARKET DOCTRINE)
21        50.    The market for Trade Desk’s securities was open, well-developed and
22 efficient at all relevant times. As a result of the materially false and/or misleading
23 statements and/or failures to disclose, Trade Desk’s securities traded at artificially
24 inflated prices during the Class Period. On December 4, 2024, the Company’s share
25 price closed at a Class Period high of $139.51 per share. Plaintiff and other members
26 of the Class purchased or otherwise acquired the Company’s securities relying upon
27 the integrity of the market price of Trade Desk’s securities and market information
28 relating to Trade Desk, and have been damaged thereby.

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 1         51.   During the Class Period, the artificial inflation of Trade Desk’s shares
 2 was caused by the material misrepresentations and/or omissions particularized in this
 3 Complaint causing the damages sustained by Plaintiff and other members of the Class.
 4 As described herein, during the Class Period, Defendants made or caused to be made
 5 a series of materially false and/or misleading statements about Trade Desk’s business,
 6 prospects, and operations. These material misstatements and/or omissions created an
 7 unrealistically positive assessment of Trade Desk and its business, operations, and
 8 prospects, thus causing the price of the Company’s securities to be artificially inflated
 9 at all relevant times, and when disclosed, negatively affected the value of the
10 Company shares. Defendants’ materially false and/or misleading statements during
11 the Class Period resulted in Plaintiff and other members of the Class purchasing the
12 Company’s securities at such artificially inflated prices, and each of them has been
13 damaged as a result.
14         52.   At all relevant times, the market for Trade Desk’s securities was an
15 efficient market for the following reasons, among others:
16               (a)    Trade Desk shares met the requirements for listing, and was listed
17 and actively traded on the NASDAQ, a highly efficient and automated market;
18               (b)    As a regulated issuer, Trade Desk filed periodic public reports
19 with the SEC and/or the NASDAQ;
20               (c)    Trade Desk regularly communicated with public investors via
21 established market communication mechanisms, including through regular
22 dissemination of press releases on the national circuits of major newswire services
23 and through other wide-ranging public disclosures, such as communications with the
24 financial press and other similar reporting services; and/or
25               (d)    Trade Desk was followed by securities analysts employed by
26 brokerage firms who wrote reports about the Company, and these reports were
27 distributed to the sales force and certain customers of their respective brokerage firms.
28 Each of these reports was publicly available and entered the public marketplace.

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 1        53.    As a result of the foregoing, the market for Trade Desk’s securities
 2 promptly digested current information regarding Trade Desk from all publicly
 3 available sources and reflected such information in Trade Desk’s share price. Under
 4 these circumstances, all purchasers of Trade Desk’s securities during the Class Period
 5 suffered similar injury through their purchase of Trade Desk’s securities at artificially
 6 inflated prices and a presumption of reliance applies.
 7         54.   A Class-wide presumption of reliance is also appropriate in this action
 8 under the Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States,
 9 406 U.S. 128 (1972), because the Class’s claims are, in large part, grounded on
10 Defendants’ material misstatements and/or omissions. Because this action involves
11 Defendants’ failure to disclose material adverse information regarding the Company’s
12 business operations and financial prospects—information that Defendants were
13 obligated to disclose—positive proof of reliance is not a prerequisite to recovery. All
14 that is necessary is that the facts withheld be material in the sense that a reasonable
15 investor might have considered them important in making investment decisions.
16 Given the importance of the Class Period material misstatements and omissions set
17 forth above, that requirement is satisfied here.
18                                  NO SAFE HARBOR
19        55.    The statutory safe harbor provided for forward-looking statements under
20 certain circumstances does not apply to any of the allegedly false statements pleaded
21 in this Complaint. The statements alleged to be false and misleading herein all relate
22 to then-existing facts and conditions. In addition, to the extent certain of the
23 statements alleged to be false may be characterized as forward looking, they were not
24 identified as “forward-looking statements” when made and there were no meaningful
25 cautionary statements identifying important factors that could cause actual results to
26 differ materially from those in the purportedly forward-looking statements. In the
27 alternative, to the extent that the statutory safe harbor is determined to apply to any
28 forward-looking statements pleaded herein, Defendants are liable for those false

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 1 forward-looking statements because at the time each of those forward-looking
 2 statements was made, the speaker had actual knowledge that the forward-looking
 3 statement was materially false or misleading, and/or the forward-looking statement
 4 was authorized or approved by an executive officer of Trade Desk who knew that the
 5 statement was false when made.
 6                                        FIRST CLAIM
 7                  Violation of Section 10(b) of The Exchange Act and
 8                          Rule 10b-5 Promulgated Thereunder
 9                                  Against All Defendants
10         56.    Plaintiff repeats and re-alleges each and every allegation contained
11 above as if fully set forth herein.
12         57.    During the Class Period, Defendants carried out a plan, scheme and
13 course of conduct which was intended to and, throughout the Class Period, did: (i)
14 deceive the investing public, including Plaintiff and other Class members, as alleged
15 herein; and (ii) cause Plaintiff and other members of the Class to purchase Trade
16 Desk’s securities at artificially inflated prices. In furtherance of this unlawful scheme,
17 plan and course of conduct, Defendants, and each defendant, took the actions set forth
18 herein.
19         58.    Defendants (i) employed devices, schemes, and artifices to defraud; (ii)
20 made untrue statements of material fact and/or omitted to state material facts
21 necessary to make the statements not misleading; and (iii) engaged in acts, practices,
22 and a course of business which operated as a fraud and deceit upon the purchasers of
23 the Company’s securities in an effort to maintain artificially high market prices for
24 Trade Desk’s securities in violation of Section 10(b) of the Exchange Act and Rule
25 10b-5. All Defendants are sued either as primary participants in the wrongful and
26 illegal conduct charged herein or as controlling persons as alleged below.
27         59.    Defendants, individually and in concert, directly and indirectly, by the
28 use, means or instrumentalities of interstate commerce and/or of the mails, engaged

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 1 and participated in a continuous course of conduct to conceal adverse material
 2 information about Trade Desk’s financial well-being and prospects, as specified
 3 herein.
 4         60.   Defendants employed devices, schemes and artifices to defraud, while in
 5 possession of material adverse non-public information and engaged in acts, practices,
 6 and a course of conduct as alleged herein in an effort to assure investors of Trade
 7 Desk’s value and performance and continued substantial growth, which included the
 8 making of, or the participation in the making of, untrue statements of material facts
 9 and/or omitting to state material facts necessary in order to make the statements made
10 about Trade Desk and its business operations and future prospects in light of the
11 circumstances under which they were made, not misleading, as set forth more
12 particularly herein, and engaged in transactions, practices and a course of business
13 which operated as a fraud and deceit upon the purchasers of the Company’s securities
14 during the Class Period.
15         61.   Each of the Individual Defendants’ primary liability and controlling
16 person liability arises from the following facts: (i) the Individual Defendants were
17 high-level executives and/or directors at the Company during the Class Period and
18 members of the Company’s management team or had control thereof; (ii) each of
19 these defendants, by virtue of their responsibilities and activities as a senior officer
20 and/or director of the Company, was privy to and participated in the creation,
21 development and reporting of the Company’s internal budgets, plans, projections
22 and/or reports; (iii) each of these defendants enjoyed significant personal contact and
23 familiarity with the other defendants and was advised of, and had access to, other
24 members of the Company’s management team, internal reports and other data and
25 information about the Company’s finances, operations, and sales at all relevant times;
26 and (iv) each of these defendants was aware of the Company’s dissemination of
27 information to the investing public which they knew and/or recklessly disregarded
28 was materially false and misleading.

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 1         62.   Defendants had actual knowledge of the misrepresentations and/or
 2 omissions of material facts set forth herein, or acted with reckless disregard for the
 3 truth in that they failed to ascertain and to disclose such facts, even though such facts
 4 were available to them. Such defendants’ material misrepresentations and/or
 5 omissions were done knowingly or recklessly and for the purpose and effect of
 6 concealing Trade Desk’s financial well-being and prospects from the investing public
 7 and supporting the artificially inflated price of its securities. As demonstrated by
 8 Defendants’ overstatements and/or misstatements of the Company’s business,
 9 operations, financial well-being, and prospects throughout the Class Period,
10 Defendants, if they did not have actual knowledge of the misrepresentations and/or
11 omissions alleged, were reckless in failing to obtain such knowledge by deliberately
12 refraining from taking those steps necessary to discover whether those statements
13 were false or misleading.
14         63.   As a result of the dissemination of the materially false and/or misleading
15 information and/or failure to disclose material facts, as set forth above, the market
16 price of Trade Desk’s securities was artificially inflated during the Class Period. In
17 ignorance of the fact that market prices of the Company’s securities were artificially
18 inflated, and relying directly or indirectly on the false and misleading statements made
19 by Defendants, or upon the integrity of the market in which the securities trades,
20 and/or in the absence of material adverse information that was known to or recklessly
21 disregarded by Defendants, but not disclosed in public statements by Defendants
22 during the Class Period, Plaintiff and the other members of the Class acquired Trade
23 Desk’s securities during the Class Period at artificially high prices and were damaged
24 thereby.
25         64.   At the time of said misrepresentations and/or omissions, Plaintiff and
26 other members of the Class were ignorant of their falsity, and believed them to be
27 true. Had Plaintiff and the other members of the Class and the marketplace known
28 the truth regarding the problems that Trade Desk was experiencing, which were not

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 1 disclosed by Defendants, Plaintiff and other members of the Class would not have
 2 purchased or otherwise acquired their Trade Desk securities, or, if they had acquired
 3 such securities during the Class Period, they would not have done so at the artificially
 4 inflated prices which they paid.
 5         65.   By virtue of the foregoing, Defendants violated Section 10(b) of the
 6 Exchange Act and Rule 10b-5 promulgated thereunder.
 7         66.   As a direct and proximate result of Defendants’ wrongful conduct,
 8 Plaintiff and the other members of the Class suffered damages in connection with
 9 their respective purchases and sales of the Company’s securities during the Class
10 Period.
11                                       SECOND CLAIM
12                    Violation of Section 20(a) of The Exchange Act
13                           Against the Individual Defendants
14         67.   Plaintiff repeats and re-alleges each and every allegation contained
15 above as if fully set forth herein.
16         68.   Individual Defendants acted as controlling persons of Trade Desk within
17 the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their
18 high-level positions and their ownership and contractual rights, participation in,
19 and/or awareness of the Company’s operations and intimate knowledge of the false
20 financial statements filed by the Company with the SEC and disseminated to the
21 investing public, Individual Defendants had the power to influence and control and
22 did influence and control, directly or indirectly, the decision-making of the Company,
23 including the content and dissemination of the various statements which Plaintiff
24 contends are false and misleading. Individual Defendants were provided with or had
25 unlimited access to copies of the Company’s reports, press releases, public filings,
26 and other statements alleged by Plaintiff to be misleading prior to and/or shortly after
27 these statements were issued and had the ability to prevent the issuance of the
28 statements or cause the statements to be corrected.

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 1        69.    In particular, Individual Defendants had direct and supervisory
 2 involvement in the day-to-day operations of the Company and, therefore, had the
 3 power to control or influence the particular transactions giving rise to the securities
 4 violations as alleged herein, and exercised the same.
 5        70.    As set forth above, Trade Desk and Individual Defendants each violated
 6 Section 10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint.
 7 By virtue of their position as controlling persons, Individual Defendants are liable
 8 pursuant to Section 20(a) of the Exchange Act. As a direct and proximate result of
 9 Defendants’ wrongful conduct, Plaintiff and other members of the Class suffered
10 damages in connection with their purchases of the Company’s securities during the
11 Class Period.
12                               PRAYER FOR RELIEF
13        WHEREFORE, Plaintiff prays for relief and judgment, as follows:
14        (a)    Determining that this action is a proper class action under Rule 23 of the
15 Federal Rules of Civil Procedure;
16        (b)    Awarding compensatory damages in favor of Plaintiff and the other
17 Class members against all defendants, jointly and severally, for all damages sustained
18 as a result of Defendants’ wrongdoing, in an amount to be proven at trial, including
19 interest thereon;
20        (c)    Awarding Plaintiff and the Class their reasonable costs and expenses
21 incurred in this action, including counsel fees and expert fees; and
22        (d)    Such other and further relief as the Court may deem just and proper.
23                             JURY TRIAL DEMANDED
24        Plaintiff hereby demands a trial by jury.
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                                              SWORN CERTIFICATION OF PLAINTIFF



                           The Trade Desk, Inc., SECURITIES LITIGATION

                                           
                  I,                                                  , certify:

                           1.   I have reviewed the Complaint, adopt its allegations, and authorize its filing and/or
                                the filing of a lead plaintiff motion on my behalf.

                           2.   I did not purchase The Trade Desk, Inc., the security that is the subject of this action
                                at the direction of plaintiff’s counsel or in order to participate in any private action
                                arising under this title.

                           3.   I am willing to serve as a representative party on behalf of a class and will testify at
                                deposition and trial, if necessary.

                           4.   My transactions in The Trade Desk, Inc., during the class period set forth in the
                                Complaint are as follows:

                                      See Attached Transactions

                           5.   I have not served as a representative party on behalf of a class under this title during
                                the last three years except as stated:

                           6.   I will not accept any payment for serving as a representative party, except to receive
                                my pro rata share of any recovery or as ordered or approved by the court including
                                the award to a representative plaintiff of reasonable costs and expenses (including
                                lost wages) directly relating to the representation of the class.


                           I declare under penalty of perjury that the foregoing are true and correct statements.




                            
                  Dated: ________________                      ____________________________________________
                                                                         
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               Manuel Savorelli's Transactions in The Trade Desk, Inc. (TTD)

                                     Common Stock
                  Date          Transaction Type        Quantity       Unit Price
               9/13/2024              Sold               6,100          $105.0000
                2/4/2025            Bought               2,000          $112.9500


                                        Options
   Date     Transaction Type     Contract Type         Exp / Strike    Quantity     Price
5/14/2024     Sell to Open            Put            5/17/2024 / $81      -1         $0.0800
5/14/2024     Sell to Open            Put            5/17/2024 / $81      -1         $0.0800
5/14/2024     Sell to Open            Put            5/17/2024 / $81      -1         $0.1000
5/14/2024     Sell to Open            Put            5/17/2024 / $81      -1         $0.1000
5/14/2024     Sell to Open            Put            5/17/2024 / $81      -1         $0.1100
5/14/2024     Sell to Open            Put            5/17/2024 / $81      -1         $0.1000
5/14/2024     Sell to Open            Put            5/17/2024 / $81      -1         $0.1000
5/14/2024     Sell to Open            Put            5/17/2024 / $81      -1         $0.1000
5/14/2024     Sell to Open            Put            5/17/2024 / $81      -1         $0.1000
5/14/2024     Sell to Open            Put            5/17/2024 / $81      -1         $0.1000
5/17/2024       Expired               Put            5/17/2024 / $81     10          $0.0000
5/20/2024     Sell to Open           Call            5/24/2024 / $96     -11         $1.9000
5/20/2024     Sell to Open           Call            5/24/2024 / $96      -2         $1.9000
5/20/2024     Sell to Open           Call            5/24/2024 / $96     -10         $1.8800
5/20/2024     Sell to Open           Call            5/24/2024 / $96      -2         $1.8400
5/20/2024     Sell to Open           Call            5/24/2024 / $96     -12         $1.8400
5/20/2024     Sell to Open           Call            5/24/2024 / $96      -2         $1.8200
5/20/2024     Sell to Open           Call            5/24/2024 / $96      -2         $1.8200
5/20/2024     Sell to Open           Call            5/24/2024 / $96      -2         $1.8000
5/20/2024     Sell to Open           Call            5/24/2024 / $96      -2         $1.8000
5/20/2024     Sell to Open           Call            5/24/2024 / $96      -2         $1.8000
5/20/2024     Sell to Open           Call            5/24/2024 / $96      -2         $1.8000
5/20/2024     Sell to Open           Call            5/24/2024 / $96      -2         $1.8000
5/20/2024     Sell to Open           Call            5/24/2024 / $96      -2         $1.7600
5/20/2024     Sell to Open           Call            5/24/2024 / $96      -2         $1.8000
5/20/2024     Sell to Open           Call            5/24/2024 / $96      -2         $1.7200
5/20/2024     Sell to Open           Call            5/24/2024 / $96      -2         $1.7200
5/20/2024     Sell to Open           Call            5/24/2024 / $96      -2         $1.7000
5/24/2024       Expired              Call            5/24/2024 / $96     61          $0.0000
5/29/2024     Sell to Open           Call            5/31/2024 / $97     -61         $0.4000
5/31/2024       Expired              Call            5/31/2024 / $97     61          $0.0000
 6/3/2024     Sell to Open            Put             6/7/2024 / $88      -3         $0.3400
 6/3/2024     Sell to Open            Put             6/7/2024 / $88      -2         $0.3400
 6/3/2024     Sell to Open            Put             6/7/2024 / $88      -2         $0.3300
 6/3/2024     Sell to Open            Put             6/7/2024 / $88      -2         $0.3300
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   Date     Transaction Type   Contract Type       Exp / Strike     Quantity   Price
 6/3/2024     Sell to Open          Put          6/7/2024 / $88        -2       $0.3300
 6/3/2024     Sell to Open          Put          6/7/2024 / $88        -2       $0.3300
 6/3/2024     Sell to Open          Put          6/7/2024 / $88        -2       $0.3200
 6/3/2024     Sell to Open          Put          6/7/2024 / $88        -2       $0.3200
 6/3/2024     Sell to Open          Put          6/7/2024 / $88        -2       $0.3300
 6/3/2024     Sell to Open          Put          6/7/2024 / $88        -2       $0.3300
 6/3/2024     Sell to Open          Put          6/7/2024 / $88        -2       $0.3300
 6/3/2024     Sell to Open          Put          6/7/2024 / $88        -2       $0.3300
 6/3/2024     Sell to Open          Put          6/7/2024 / $88        -1       $0.3300
 6/3/2024     Sell to Open          Put          6/7/2024 / $88        -1       $0.3300
 6/3/2024     Sell to Open          Put          6/7/2024 / $88        -1       $0.3100
 6/3/2024     Sell to Open          Put          6/7/2024 / $88        -1       $0.3100
 6/3/2024     Sell to Open          Put          6/7/2024 / $88        -1       $0.3100
 6/3/2024     Sell to Open          Put          6/7/2024 / $88        -1       $0.3000
 6/3/2024     Sell to Open          Put          6/7/2024 / $88        -1       $0.3000
 6/5/2024     Sell to Open         Call           6/7/2024 / $97      -31       $1.1100
 6/5/2024     Sell to Open         Call           6/7/2024 / $97      -30       $1.0600
 6/7/2024       Expired             Put          6/7/2024 / $88       32        $0.0000
 6/7/2024       Expired            Call           6/7/2024 / $97      61        $0.0000
6/12/2024     Sell to Open         Call          6/14/2024 / $97       -5       $1.2600
6/12/2024     Sell to Open         Call          6/14/2024 / $97       -5       $1.3000
6/12/2024     Sell to Open         Call          6/14/2024 / $97       -5       $1.1400
6/12/2024     Sell to Open         Call          6/14/2024 / $97       -5       $1.1000
6/12/2024     Sell to Open         Call          6/14/2024 / $97       -5       $1.0800
6/12/2024     Sell to Open         Call          6/14/2024 / $97       -5       $1.0000
6/12/2024     Sell to Open         Call          6/14/2024 / $97       -5       $0.9800
6/12/2024     Sell to Open         Call          6/14/2024 / $98       -6       $1.0000
6/12/2024     Sell to Open         Call          6/14/2024 / $98       -5       $0.9600
6/12/2024     Sell to Open         Call          6/14/2024 / $98       -5       $0.9400
6/12/2024     Sell to Open         Call          6/14/2024 / $98       -5       $0.9400
6/12/2024     Sell to Open         Call          6/14/2024 / $98       -5       $0.9400
6/13/2024     Sell to Open         Call         12/20/2024 / $105     -59       $9.2200
6/13/2024     Sell to Open         Call         12/20/2024 / $105      -2       $9.1800
6/13/2024     Buy to Close         Call          9/20/2024 / $95      59        $9.1000
6/13/2024     Buy to Close         Call          9/20/2024 / $95        2       $9.0500
6/14/2024       Expired            Call          6/14/2024 / $97      35        $0.0000
6/14/2024       Expired            Call          6/14/2024 / $98      26        $0.0000
6/17/2024     Sell to Open         Call          6/21/2024 / $99       -5       $0.9500
6/17/2024     Sell to Open         Call          6/21/2024 / $99       -6       $0.8500
6/17/2024     Sell to Open         Call          6/21/2024 / $99       -5       $1.1500
6/17/2024     Sell to Open         Call          6/21/2024 / $99       -5       $1.1400
6/17/2024     Sell to Open         Call          6/21/2024 / $99       -5       $1.1400
6/17/2024     Sell to Open         Call          6/21/2024 / $99       -5       $1.1300
6/17/2024     Sell to Open         Call          6/21/2024 / $99       -5       $1.1300
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   Date     Transaction Type   Contract Type      Exp / Strike     Quantity   Price
6/17/2024     Sell to Open         Call          6/21/2024 / $99      -5       $1.1300
6/17/2024     Sell to Open         Call          6/21/2024 / $99      -5       $1.1300
6/17/2024     Sell to Open         Call          6/21/2024 / $99      -5       $1.1300
6/17/2024     Sell to Open         Call          6/21/2024 / $99      -5       $1.1300
6/17/2024     Sell to Open         Call          6/21/2024 / $99      -5       $1.1100
6/21/2024       Expired            Call         6/21/2024 / $99      61        $0.0000
7/2/2024      Sell to Open         Call         7/5/2024 / $101       -2       $0.1400
7/2/2024      Sell to Open         Call         7/5/2024 / $101       -2       $0.2900
7/2/2024      Sell to Open         Call         7/5/2024 / $101       -2       $0.2800
7/2/2024      Sell to Open         Call         7/5/2024 / $101       -2       $0.2700
7/2/2024      Sell to Open         Call         7/5/2024 / $101       -2       $0.1900
7/2/2024      Sell to Open         Call         7/5/2024 / $101       -2       $0.1900
7/2/2024      Sell to Open         Call         7/5/2024 / $101       -2       $0.1800
7/2/2024      Sell to Open         Call         7/5/2024 / $101       -2       $0.1800
7/2/2024      Sell to Open         Call         7/5/2024 / $101       -2       $0.1800
7/2/2024      Sell to Open         Call         7/5/2024 / $101       -2       $0.1800
7/2/2024      Sell to Open         Call         7/5/2024 / $101       -2       $0.1800
7/2/2024      Sell to Open         Call         7/5/2024 / $101       -2       $0.1800
7/2/2024      Sell to Open         Call         7/5/2024 / $101       -2       $0.1800
7/2/2024      Sell to Open         Call         7/5/2024 / $101       -2       $0.1800
7/2/2024      Sell to Open         Call         7/5/2024 / $101       -2       $0.1800
7/2/2024      Sell to Open         Call         7/5/2024 / $101       -2       $0.1800
7/2/2024      Sell to Open         Call          7/5/2024 /$102      -14       $0.0800
7/2/2024      Sell to Open         Call          7/5/2024 /$102       -2       $0.0700
7/2/2024      Sell to Open         Call          7/5/2024 /$102       -2       $0.1500
7/2/2024      Sell to Open         Call          7/5/2024 /$102       -2       $0.1400
7/2/2024      Sell to Open         Call          7/5/2024 /$102       -2       $0.1400
7/2/2024      Sell to Open         Call          7/5/2024 /$102       -2       $0.1400
7/2/2024      Sell to Open         Call          7/5/2024 /$102       -2       $0.1400
7/2/2024      Sell to Open         Call          7/5/2024 /$102       -2       $0.1400
7/2/2024      Sell to Open         Call          7/5/2024 /$102       -1       $0.1200
7/5/2024        Expired            Call         7/5/2024 / $101      32        $0.0000
7/5/2024        Expired            Call          7/5/2024 /$102      29        $0.0000
7/9/2024      Sell to Open         Call         7/12/2024 / $104      -5       $0.4000
7/9/2024      Sell to Open         Call         7/12/2024 / $104      -5       $0.3800
7/9/2024      Sell to Open         Call         7/12/2024 / $104      -5       $0.3800
7/9/2024      Sell to Open         Call         7/12/2024 / $104      -5       $0.3800
7/9/2024      Sell to Open         Call         7/12/2024 / $104      -5       $0.3800
7/9/2024      Sell to Open         Call         7/12/2024 / $104      -5       $0.3800
7/9/2024      Sell to Open         Call         7/12/2024 / $104      -5       $0.3800
7/9/2024      Sell to Open         Call         7/12/2024 / $104      -6       $0.3600
7/9/2024      Sell to Open         Call         7/12/2024 / $104      -5       $0.3600
7/9/2024      Sell to Open         Call         7/12/2024 / $104      -5       $0.3600
7/9/2024      Sell to Open         Call         7/12/2024 / $104      -5       $0.3600
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   Date     Transaction Type   Contract Type      Exp / Strike     Quantity   Price
 7/9/2024     Sell to Open         Call         7/12/2024 / $104      -5       $0.3600
7/12/2024       Expired            Call         7/12/2024 / $104      61       $0.0000
7/15/2024     Sell to Open         Call         7/19/2024 / $107      -4       $0.1700
7/15/2024     Sell to Open         Call         7/19/2024 / $107      -5       $0.1700
7/15/2024     Sell to Open         Call         7/19/2024 / $107      -5       $0.1700
7/15/2024     Sell to Open         Call         7/19/2024 / $107      -5       $0.1700
7/15/2024     Sell to Open         Call         7/19/2024 / $107      -5       $0.1700
7/15/2024     Sell to Open         Call         7/19/2024 / $107      -5       $0.1700
7/15/2024     Sell to Open         Call         7/19/2024 / $107      -5       $0.1700
7/15/2024     Sell to Open         Call         7/19/2024 / $107      -5       $0.1700
7/15/2024     Sell to Open         Call         7/19/2024 / $107      -3       $0.1700
7/15/2024     Sell to Open         Call         7/19/2024 / $107      -3       $0.1700
7/15/2024     Sell to Open         Call         7/19/2024 / $107      -5       $0.1700
7/15/2024     Sell to Open         Call         7/19/2024 / $107      -6       $0.1700
7/15/2024     Sell to Open         Call         7/19/2024 / $107      -5       $0.1600
7/17/2024     Sell to Open          Put         7/19/2024 / $90      -10       $0.2400
7/17/2024     Sell to Open          Put         7/19/2024 / $91       -2       $0.1000
7/17/2024     Sell to Open          Put         7/19/2024 / $92       -2       $0.1500
7/17/2024     Sell to Open          Put         7/19/2024 / $92       -2       $0.1500
7/17/2024     Sell to Open          Put         7/19/2024 / $92       -2       $0.1300
7/17/2024     Sell to Open          Put         7/19/2024 / $92       -2       $0.1300
7/17/2024     Sell to Open          Put         7/19/2024 / $97      -10       $1.2300
7/19/2024       Expired            Call         7/19/2024 / $107      61       $0.0000
7/19/2024       Expired             Put         7/19/2024 / $90      10        $0.0000
7/19/2024       Expired             Put         7/19/2024 / $91       2        $0.0000
7/19/2024       Expired             Put         7/19/2024 / $92       8        $0.0000
7/19/2024     Buy to Close          Put         7/19/2024 / $97      10        $1.3300
7/19/2024     Sell to Open          Put         7/26/2024 / $97      -10       $2.5600
7/22/2024     Sell to Open         Call          7/26/24 / $106       -3       $0.2900
7/22/2024     Sell to Open         Call          7/26/24 / $106       -3       $0.2900
7/22/2024     Sell to Open         Call          7/26/24 / $106       -4       $0.2900
7/22/2024     Sell to Open         Call          7/26/24 / $106       -3       $0.2700
7/22/2024     Sell to Open         Call          7/26/24 / $106       -3       $0.2600
7/22/2024     Sell to Open         Call          7/26/24 / $106       -3       $0.2600
7/22/2024     Sell to Open         Call          7/26/24 / $106       -3       $0.2600
7/22/2024     Sell to Open         Call          7/26/24 / $106       -3       $0.2600
7/22/2024     Sell to Open         Call          7/26/24 / $106       -3       $0.2600
7/22/2024     Sell to Open         Call          7/26/24 / $106       -3       $0.2600
7/22/2024     Sell to Open         Call          7/26/24 / $106       -3       $0.2400
7/22/2024     Sell to Open         Call          7/26/24 / $106       -3       $0.2500
7/22/2024     Sell to Open         Call          7/26/24 / $106       -3       $0.2500
7/22/2024     Sell to Open         Call          7/26/24 / $106       -3       $0.2500
7/22/2024     Sell to Open         Call          7/26/24 / $106       -3       $0.2400
7/22/2024     Sell to Open         Call          7/26/24 / $106       -3       $0.2300
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   Date     Transaction Type   Contract Type        Exp / Strike    Quantity   Price
7/22/2024     Sell to Open         Call            7/26/24 / $106      -3       $0.2300
7/22/2024     Sell to Open         Call            7/26/24 / $106      -3       $0.2200
7/22/2024     Sell to Open         Call            7/26/24 / $106      -3       $0.2200
7/22/2024     Sell to Open         Call            7/26/24 / $106      -3       $0.2100
7/24/2024     Sell to Open          Put          7/26/2024 / $86      -10       $0.2100
7/24/2024     Sell to Open          Put          7/26/2024 / $88      -10       $0.2100
7/26/2024       Expired             Put          7/26/2024 / $86      10        $0.0000
7/26/2024       Expired             Put          7/26/2024 / $88      10        $0.0000
7/26/2024     Buy to Close          Put          7/26/2024 / $97       10       $4.8500
7/26/2024       Expired            Call           7/26/24 / $106       61       $0.0000
7/26/2024     Sell to Open          Put           8/2/2024 / $97      -10       $5.4200
7/30/2024     Sell to Open          Put           8/2/2024 / $87      -10       $1.1000
7/31/2024     Buy to Close          Put           8/2/2024 / $97       10       $6.5700
7/31/2024     Sell to Open          Put           8/9/2024 / $93      -10       $7.0200
 8/2/2024     Buy to Close          Put           8/2/2024 / $87      10        $4.3200
 8/2/2024     Sell to Open          Put           8/9/2024 / $84      -10       $6.1000
 8/5/2024     Sell to Open          Put          8/16/2024 / $93      -10      $11.1600
 8/5/2024     Sell to Open          Put           8/9/2024 / $74       -2       $2.1200
 8/5/2024     Sell to Open          Put           8/9/2024 / $74       -2       $2.0600
 8/5/2024     Sell to Open          Put           8/9/2024 / $75       -2       $2.2600
 8/5/2024     Sell to Open          Put           8/9/2024 / $76       -2       $2.4200
 8/5/2024     Buy to Close          Put           8/9/2024 / $93      10       $10.6710
 8/7/2024     Sell to Open         Call           8/9/2024 / $103     -20       $0.4000
 8/7/2024     Sell to Open         Call           8/9/2024 / $104     -21       $0.2200
 8/7/2024     Sell to Open         Call           8/9/2024 / $104     -20       $0.3200
 8/9/2024       Expired            Call          8/9/2024 / $103       20       $0.0000
 8/9/2024       Expired            Call          8/9/2024 / $104       41       $0.0000
 8/9/2024       Expired             Put           8/9/2024 / $74       4        $0.0000
 8/9/2024       Expired             Put           8/9/2024 / $75       2        $0.0000
 8/9/2024       Expired             Put           8/9/2024 / $76       2        $0.0000
 8/9/2024       Expired             Put           8/9/2024 / $84      10        $0.0000
8/13/2024     Sell to Open         Call          8/16/2024 / $104      -2       $0.1700
8/13/2024     Sell to Open         Call          8/16/2024 / $104      -2       $0.1700
8/13/2024     Sell to Open         Call          8/16/2024 / $104      -2       $0.1700
8/13/2024     Sell to Open         Call          8/16/2024 / $104      -2       $0.1700
8/14/2024     Sell to Open         Call          8/16/2024 / $104      -2       $0.1600
8/14/2024     Sell to Open         Call          8/16/2024 / $104      -2       $0.1500
8/16/2024       Expired            Call          8/16/2024 / $104      12       $0.0000
8/16/2024       Expired             Put          8/16/2024 / $93      10        $0.0000
8/21/2024     Sell to Open         Call          8/23/2024 / $108     -30       $0.1100
8/23/2024       Expired            Call          8/23/2024 / $108      30       $0.0000
8/29/2024     Buy to Close         Call         12/20/2024 / $105      61      $10.1000
8/29/2024     Sell to Open         Call          3/31/2025 / $115     -61      $10.1600
 9/5/2024     Sell to Open         Call           9/6/2024 / $108     -40       $0.0800
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   Date      Transaction Type   Contract Type       Exp / Strike     Quantity   Price
 9/5/2024      Sell to Open         Call           9/6/2024 / $108     -21       $0.0900
 9/6/2024        Expired            Call           9/6/2024 / $108      61       $0.0000
 9/9/2024      Sell to Open          Put           9/13/2024 / $93      -1       $0.2100
 9/9/2024      Sell to Open          Put           9/13/2024 / $93      -1       $0.2000
 9/9/2024      Sell to Open          Put           9/13/2024 / $93      -1       $0.2000
 9/9/2024      Sell to Open          Put           9/13/2024 / $93      -1       $0.2000
 9/9/2024      Sell to Open          Put           9/13/2024 / $93      -1       $0.2000
9/12/2024      Sell to Open         Call          9/13/2024 / $105     -61       $0.5100
9/13/2024        Assigned           Call          9/13/2024 / $105      61       $0.0000
9/13/2024        Expired             Put           9/13/2024 / $93      5        $0.0000
10/1/2024      Sell to Open          Put          10/4/2024 / $103     -61       $0.1300
10/4/2024        Expired             Put          10/4/2024 / $103     61        $0.0000
10/7/2024      Sell to Open          Put         10/11/2024 / $104     -30       $0.1400
10/7/2024      Sell to Open          Put         10/11/2024 / $105     -20       $0.1800
10/7/2024      Sell to Open          Put         10/11/2024 / $106     -10       $0.2600
10/11/2024       Expired             Put         10/11/2024 / $104     30        $0.0000
10/11/2024       Expired             Put         10/11/2024 / $105     20        $0.0000
10/11/2024       Expired             Put         10/11/2024 / $106     10        $0.0000
10/16/2024     Sell to Open          Put         10/18/2024 / $113     -61       $0.1000
10/18/2024       Expired             Put         10/18/2024 / $113     61        $0.0000
10/23/2024     Sell to Open          Put         10/25/2024 / $112     -10       $0.0900
10/23/2024     Sell to Open          Put         10/25/2024 / $112     -20       $0.1000
10/23/2024     Sell to Open          Put         10/25/2024 / $113     -31       $0.1500
10/25/2024       Expired             Put         10/25/2024 / $112     30        $0.0000
10/25/2024       Expired             Put         10/25/2024 / $113     31        $0.0000
10/28/2024     Sell to Open          Put          11/1/2024 / $112      -1       $0.3200
10/28/2024     Sell to Open          Put          11/1/2024 / $112      -1       $0.3100
10/28/2024     Sell to Open          Put          11/1/2024 / $112      -1       $0.3100
10/28/2024     Sell to Open          Put          11/1/2024 / $112      -1       $0.3100
10/28/2024     Sell to Open          Put          11/1/2024 / $112      -1       $0.3000
10/28/2024     Sell to Open          Put          11/1/2024 / $112      -1       $0.3000
10/30/2024     Sell to Open          Put          11/1/2024 / $118     -55       $0.3500
10/31/2024     Buy to Close          Put          11/1/2024 / $118     55        $0.8867
10/31/2024     Sell to Open          Put          11/8/2024 / $110     -55       $3.0267
11/1/2024        Expired             Put          11/1/2024 / $112      6        $0.0000
11/6/2024      Sell to Open          Put          11/8/2024 / $114     -20       $2.1620
11/6/2024      Buy to Close         Call          3/31/2025 / $115      61      $19.7000
11/6/2024      Sell to Open         Call          9/19/2025 / $130     -61      $20.0900
11/7/2024      Sell to Open          Put          11/8/2024 / $122     -61       $1.8300
11/8/2024        Expired             Put          11/8/2024 / $114     20        $0.0000
11/8/2024      Sell to Open          Put         11/15/2024 / $120     -61       $1.7700
11/8/2024      Buy to Close          Put          11/8/2024 / $110     55        $0.0400
11/8/2024      Buy to Close          Put          11/8/2024 / $122     61        $1.6700
11/11/2024     Sell to Open          Put         11/15/2024 / $124     -31       $0.5300
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   Date      Transaction Type   Contract Type       Exp / Strike     Quantity   Price
11/11/2024     Sell to Open          Put         11/15/2024 / $125     -30       $0.6200
11/15/2024     Buy to Close          Put         11/15/2024 / $120     61        $1.8967
11/15/2024     Buy to Close          Put         11/15/2024 / $124     31        $5.9000
11/15/2024     Buy to Close          Put         11/15/2024 / $125     30        $6.7500
11/15/2024     Sell to Open          Put          12/6/2024 / $123     -31       $6.4584
11/15/2024     Sell to Open          Put          12/6/2024 / $124     -30       $7.1600
11/19/2024     Sell to Open         Call         11/22/2024 / $124     -10       $0.3300
11/19/2024     Sell to Open         Call         11/22/2024 / $124      -1       $0.3300
11/19/2024     Sell to Open         Call         11/22/2024 / $124      -1       $0.3300
11/19/2024     Sell to Open         Call         11/22/2024 / $124      -1       $0.3200
11/19/2024     Sell to Open         Call         11/22/2024 / $124      -1       $0.3200
11/19/2024     Sell to Open         Call         11/22/2024 / $124      -1       $0.3200
11/19/2024     Sell to Open         Call         11/22/2024 / $124      -1       $0.2800
11/20/2024     Buy to Close         Call         11/22/2024 / $124      16       $1.6200
11/20/2024     Sell to Open         Call         12/13/2024 / $132     -16       $1.8100
 12/4/2024     Sell to Open          Put          12/6/2024 / $139     -16       $0.7600
 12/6/2024     Buy to Close         Call         12/13/2024 / $132      16       $7.1500
 12/6/2024     Sell to Open          Put         12/13/2024 / $138     -16       $2.7000
 12/6/2024     Sell to Open         Call         12/27/2024 / $134     -16       $7.0500
 12/6/2024       Expired             Put          12/6/2024 / $123     31        $0.0000
 12/6/2024       Expired             Put          12/6/2024 / $124     30        $0.0000
 12/6/2024     Buy to Close          Put          12/6/2024 / $139     16        $1.7300
 12/9/2024     Sell to Open         Call          1/10/2025 / $137     -16       $3.7400
 12/9/2024     Sell to Open          Put         12/13/2024 / $127     -10       $0.2400
 12/9/2024     Sell to Open          Put         12/13/2024 / $127     -10       $0.2200
 12/9/2024     Sell to Open          Put         12/13/2024 / $129     -10       $0.2800
 12/9/2024     Sell to Open          Put         12/13/2024 / $129     -10       $0.2600
 12/9/2024     Sell to Open          Put         12/13/2024 / $129      -1       $0.2400
 12/9/2024     Sell to Open          Put         12/13/2024 / $129     -10       $0.2300
 12/9/2024     Sell to Open          Put         12/13/2024 / $129      -1       $0.2200
 12/9/2024     Sell to Open          Put         12/13/2024 / $129      -1       $0.2300
 12/9/2024     Sell to Open          Put         12/13/2024 / $129      -1       $0.2200
 12/9/2024     Sell to Open          Put         12/13/2024 / $129      -1       $0.2200
 12/9/2024     Sell to Open          Put         12/13/2024 / $129      -1       $0.2200
 12/9/2024     Sell to Open          Put         12/13/2024 / $129      -1       $0.2200
 12/9/2024     Sell to Open          Put         12/13/2024 / $129      -1       $0.2200
 12/9/2024     Buy to Close         Call         12/27/2024 / $134      16       $3.5700
12/11/2024     Sell to Open         Call         12/13/2024 / $139      -3       $0.2500
12/12/2024     Sell to Open          Put         12/13/2024 / $129      -4       $0.0900
12/13/2024     Sell to Open          Put          1/24/2025 / $133     -16       $6.0000
12/13/2024       Expired             Put         12/13/2024 / $127     20        $0.0000
12/13/2024       Expired             Put         12/13/2024 / $129     42        $0.0000
12/13/2024     Buy to Close          Put         12/13/2024 / $138     16        $5.7300
12/13/2024       Expired            Call         12/13/2024 / $139       3       $0.0000
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    Date     Transaction Type   Contract Type       Exp / Strike     Quantity   Price
12/18/2024     Buy to Close          Put          1/24/2025 / $133     16        $5.3200
12/18/2024     Sell to Open          Put         12/20/2024 / $124     -26       $0.2300
12/18/2024     Sell to Open          Put         12/20/2024 / $125     -10       $0.2400
12/18/2024     Sell to Open          Put         12/20/2024 / $125      -5       $0.2100
12/18/2024     Sell to Open          Put         12/20/2024 / $126     -10       $0.2500
12/18/2024     Sell to Open          Put         12/20/2024 / $126      -5       $0.2600
12/18/2024     Sell to Open          Put         12/20/2024 / $126      -5       $0.2500
12/18/2024     Sell to Open          Put          3/21/2025 / $120     -16       $5.5400
12/20/2024       Expired             Put         12/20/2024 / $124     26        $0.0000
12/20/2024     Buy to Close          Put         12/20/2024 / $125     15        $1.0287
12/20/2024     Buy to Close          Put         12/20/2024 / $126     20        $2.0510
12/20/2024     Sell to Open          Put         12/27/2024 / $122     -15       $1.5487
12/20/2024     Sell to Open          Put         12/27/2024 / $124     -20       $2.5570
12/23/2024     Sell to Open          Put          1/10/2025 / $120     -20       $2.6200
12/23/2024     Buy to Close          Put         12/27/2024 / $124     20        $2.3435
12/27/2024     Sell to Open          Put           1/3/2025 / $120     -15       $1.8600
12/27/2024     Buy to Close          Put         12/27/2024 / $122     15        $1.4800
12/31/2024     Sell to Open          Put           1/3/2025 / $115     -10       $0.5200
12/31/2024     Sell to Open          Put          1/17/2025 / $118     -15       $3.4200
12/31/2024     Sell to Open          Put           1/3/2025 / $116     -10       $0.8600
12/31/2024     Sell to Open          Put           1/3/2025 / $117     -10       $1.1000
12/31/2024     Buy to Close          Put           1/3/2025 / $120     15        $2.7100
  1/3/2025       Expired             Put           1/3/2025 / $115     10        $0.0000
  1/3/2025       Expired             Put           1/3/2025 / $116     10        $0.0000
  1/3/2025       Expired             Put           1/3/2025 / $117     10        $0.0000
  1/6/2025     Sell to Open          Put          1/10/2025 / $120     -10       $0.1900
  1/7/2025     Sell to Open          Put          1/10/2025 / $117     -20       $0.2500
 1/10/2025       Expired             Put          1/10/2025 / $117     20        $0.0000
 1/10/2025     Buy to Close          Put          1/10/2025 / $120     30        $3.1600
 1/10/2025       Expired            Call          1/10/2025 / $137      16       $0.0000
 1/10/2025     Sell to Open          Put          1/31/2025 / $115     -30       $3.2500
 1/13/2025     Sell to Open          Put          1/17/2025 / $113     -10       $0.6300
 1/13/2025     Sell to Open          Put          1/17/2025 / $113      -5       $0.7100
 1/13/2025     Sell to Open          Put          1/17/2025 / $113      -5       $0.5500
 1/13/2025     Sell to Open          Put          1/17/2025 / $114      -5       $0.7000
 1/14/2025     Sell to Open          Put          1/17/2025 / $114      -5       $0.6100
 1/14/2025     Sell to Open          Put          1/17/2025 / $117      -5       $1.5100
 1/14/2025     Buy to Close          Put          1/17/2025 / $118     15        $3.1200
 1/14/2025     Sell to Open          Put          1/31/2025 / $115     -15       $3.2900
 1/17/2025       Expired             Put          1/17/2025 / $113     20        $0.0000
 1/17/2025       Expired             Put          1/17/2025 / $114     10        $0.0000
 1/17/2025       Expired             Put          1/17/2025 / $117      5        $0.0000
 1/21/2025     Sell to Open          Put          1/24/2025 / $117      -2       $0.2000
 1/21/2025     Sell to Open          Put          1/24/2025 / $117      -2       $0.1900
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   Date     Transaction Type   Contract Type      Exp / Strike     Quantity   Price
1/21/2025     Sell to Open          Put         1/24/2025 / $117      -2       $0.2000
1/22/2025     Sell to Open          Put         1/24/2025 / $117     -10       $0.3000
1/24/2025       Expired             Put         1/24/2025 / $117     16        $0.0000
1/28/2025     Sell to Open          Put         1/31/2025 / $113     -10       $0.2700
1/28/2025     Sell to Open          Put         1/31/2025 / $113     -10       $0.2800
1/31/2025       Expired             Put         1/31/2025 / $113     20        $0.0000
1/31/2025       Expired             Put         1/31/2025 / $115     45        $0.0000
 2/3/2025     Sell to Open          Put          2/7/2025 / $110     -10       $0.6300
 2/3/2025     Sell to Open          Put          2/7/2025 / $110     -10       $0.6300
 2/3/2025     Sell to Open          Put          2/7/2025 / $111      -2       $0.8800
 2/3/2025     Sell to Open          Put          2/7/2025 / $111      -2       $0.8500
 2/3/2025     Sell to Open          Put          2/7/2025 / $111      -2       $0.8500
 2/3/2025     Sell to Open          Put          2/7/2025 / $111      -2       $0.8300
 2/3/2025     Sell to Open          Put          2/7/2025 / $112      -2       $1.0400
 2/3/2025     Sell to Open          Put          2/7/2025 / $112      -2       $0.9700
 2/3/2025     Sell to Open          Put          2/7/2025 / $112      -2       $0.9200
 2/3/2025     Sell to Open          Put          2/7/2025 / $113     -11       $0.6900
 2/4/2025     Sell to Open          Put          2/7/2025 / $108     -10       $0.4200
 2/4/2025     Buy to Close         Call         9/19/2025 / $130      41      $11.7200
 2/7/2025       Expired             Put          2/7/2025 / $108     10        $0.0000
 2/7/2025       Expired             Put          2/7/2025 / $110     20        $0.0000
 2/7/2025       Expired             Put          2/7/2025 / $112      6        $0.0000
 2/7/2025       Expired             Put          2/7/2025 / $113     11        $0.0000
2/10/2025     Sell to Open          Put         2/14/2025 / $111     -10       $2.4000
